Case 2:05-CV-02447-BBD-tmp Document 15 Filed 08/22/05 Page 1 of 4 Page|D 14

.Fll.ED BY __ __ D_C_
UNITED STATES DISTRICT COURT
wEsTERN DISTRICT oF TENNESSEE 05 AUG 22 PH 2: 35
Arthur Smith, Rachelle Westbrook Tl-IO§MS [4:§_ G(M_D
Buddy D. Johnson, Robert Erbentraut Ci-HiK U.S. B.FSYF?CT COUH]’
Herbert Humphrey, Debbie Lindsey, and W/t' §§ :Tf"l. itEMPHIS

John Lindsey, Individually and on behalf
of all others similarly situated,

Plaintiffs, No. 05-2447 D/P
JURY DEMAND

FedEx Corporation, FedEx Ground

System, Inc., and FedEx Home Delivery, lnc
and their respective health and benefits
plans, Does 1»20,

Def`endants.

ORDER OF VOLUNTARY DISMISSAL
Upon stipulation of the parties, and for good cause shown, pursuant to Rule 4l(a) of the
Federal Rules of Civil Procedure, it is hereby
ORDERED that Defendant FedEx Corporation is hereby dismissed from this action

without prejudice

ENTERED misg,£_ day of L_EM . 2005.

 

 

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This emmett entered on the docket sh
with ??L!i"'.‘ ~'= ' ir 79(a) FHCP On

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APPROVED FOR ENTRY:

    

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 15 in
case 2:05-CV-02447 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

